Case 2:18-cv-00559-JRS-DLP | Document 104-1 Filed 09/10/19 Page 1 of 5 PagelD #: 1252
Loa yD) L Oxhiled A
a, ZL Cory Kise A) tl LU £463 .
hai 8702) fest @, Cee? Contiriatisn )
Catan: afi, «. Ceheltrep ALVE~ CV 0ASS9-~F65-DLP
x LEAVY Coney Le oO vo Neceeee CLA
aclergtanciag Cw ALLMALE ra Loo LALOR

LOC LINAS Cree Jacky JO, OCP,

4 pad fatenished (AeA Y nead tke

Leeaan , SeAA Lee Zz bacilbal acces fr ow

Joghask satay Ce Coprectienetl jae. Chere ba AB
Perpanswk tclee of the Oct. (SAO, Ceel aptaciier

te be located“
f avi havieg trated ceirncler Atarcling
LA Ww fee LOLs fe Y art * S “icleoyo,

nntet le eho mat weed pemebirce

 

 
 

 

z., Case 2:18-cv- anot -JRS-DLP MPS 104- it Filed 9 3 PS Page 2 of 5 PagelD #: 1253

Please be adecaect that Go yor go dapper
Aor fo be ahtle & fred that becteo of Eke
Oct /S. HOW cate “ey tractiay het again happend

to be the mace Unroleo footage b pumgerd my

Cee!’ ahtreactién Ctelé0 jo prete  decerect.
obs #016 COLI uctiactiern WHhir~ 30 days
of. wee PLA PEP OLAS 2 then Crthicaten”) neler
feel. A. Cir 9. B70a) Y peel be flirricing for
Gj mote & Compell W107 fed. RCL, P. GT

e Ein BID Colt ficakanr 0 prcotice the
Lplocatieds ¢rtclt0 fevtage AL the Ccr-kS. SOUS. CLEb

 

 
 

Case ete. fos DLP Document 104-1 Filed 09/10/19 Page 3 of 5 elae #: 1254

CLV EEE) | » that Y AM BAeveare Chat yor
te fut boo that “BZD w& Aegitlites 0
ave gee teleo puwelareo anet Mave #
put a aA prcured lecation, fae that iL cf
Car't ke tseakhds a2 fours fe be tiaecl ao
tvridiate (nh A Curt case, & auppert only
0 ROAM 2 ¢ olefenalentso claims ther
LOLEL JOO “Ya UA PLOC LKRast Y Agave ALlttaidl
ee ae

clasts, ty then matt a sunt

Mee Bed) dubansttid
firtia Cred
prt
pro #*

Jihy AA #014

 
Z . f d ! ; SUR
IL fer rviat Grn CUALHO nay INDIANA. DEPARTMENT OP CORRECTION
REQUEST FOR INTERVIEW

 

sboergha PLOY oresce LUCIUS bre | pare:_/ UL ld, [18
‘NA L wali Cckes DOCE#: AN GF DORM: Glot ASSIGNMENT:

Reson for request, (be as definite as possible) Qn jo! aft x (of 1718 & opi o/i8 “EL ivgs Celik _
estaced Roam wating b Kw tt the vedios were saved af
|

 

 

 

 

--DO NOT WRITE BELOW THIS LINE—

 

pls Pagd

1 Gclees, Ni F 046 deft
, | ___WARDEN'S OFFICE
ey Arpt NOV gly opig

 

By: ; Li
: -—WARAS wom ‘
see ' wth od on

te Form #36935 (2/4-91)

 

Case 2:18-cv-00559-JRS-DLP Dgcument 104|1

 

2 be

Cx.

 
 

e 2:18-cv-00559-JRS-DEP Ddtiahhitus PYAiea 09/10/19" Page 5 of 5 PagelD #: 1256
REPORT OF INVESTIGATION

Tuesday, October 23 2018

 

CASE NO: 18-WVC-0162

 

Primary Offense Description Date of Offense [ 14-OCT-2018}

Excessive Force Referred By — -
Offense koeation C.C.U./Qhu Person Completing Rpt Jodeana Raney /
Investigator Name Jodeana Raney / Date Rpt Completed 22-OCT-2018
Case Status

Other (secondary) Offenses

Physical Evidence N Evidence Disp Facility N Evidence Disp Agency WN
Other Facility Referred To Referred By

Narrative Offender Austin Eckes #228699 called the WVCF Tips Line.and stated he wanted to report
Excess Force by staff and PREA on 10/14/18.

| did review the video of the date in question and did not see any evidence that excessive force
was used on Offender Eckes. They asked him seven (7) times to submit to the application of
mechanical restraints and he continued to refuse. The QRT Team was utilized to gain
compliance so mechanical restraints could be applied. The allegation of PREA according to
Offender Eckes was because someone brushed his “butt” during the extraction, which is.
considered Incidental Contact is nota PREA issue. [The video has been saved to the Internal
Affairs directory in the Video (Use of Force) sectio

| interviewed Offender A. Eckes #228699 on October 16, 2018. He admitted that he put his
mattress in front of his door and that when staff told him to remove the mattress that he refused
to answer them. | asked him why he didn’t cuff up like they asked him to do and he said,
“Because they were going to take all my property and | refuse to let them do that’. Offender
Eckes stated that he will continue to act up and throw feces on staff until he is transferred. |
tried to explain to him that he was going about it the wrong way and all he wanted to do was
argue, he has a very poor attitude and is not willing to listen to anyone. | told him that staff
asked him seven times to cuff up and that the entire incident lasted about 1 % hours and that
they gave him several chances to’end the situation. | also tried to explain to _him that because
staff brushed his buttocks does not mean that it is a PREA issue and again all he wanted to do
was argue. He stated that every chance he gets that he is going to throw feces and urine on
staff. Offender Eckes did not have any visible injuries.

STATEOOI1
PRAOVOT AR AG-49 ANA Pana 1 af 5

 
